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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :
                                                               :         Chapter 7
SIZMEK INC., et al.                                            :
                                                               :         Case No. 19-10971 (DSJ)
                                             Debtors.          :
---------------------------------------------------------------x         (Joint Administered)
NITEL, INC.,                                                   :
                                             Plaintiff,        :
                                                               :
v.                                                             :         Adv. Proc. No. 21-01160 (DSJ)
                                                               :
CERBERUS BUSINESS FINANCE, LLC, and                            :
PEPI CAPITAL, L.P.,                                            :         Civil Case No. [       ]
                                                               :
                                             Defendants. :
---------------------------------------------------------------x


     MEMORANDUM IN SUPPORT OF MOTION TO WITHDRAW ADVERSARY
    PROCEEDING UNDER 28 U.S.C. § 157(d) AND CONSOLIDATE WITH PENDING
                   ACTION UNDER FED. R. CIV. P. 42(a)


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                    Defendants Cerberus Business Finance, LLC and PEPI Capital, L.P. (collectively,

"Cerberus") submit this memorandum in support of their motion to withdraw from the bankruptcy

court the above-captioned adversary proceeding under 28 U.S.C. § 157(d) and to consolidate it

under Fed. R. Civ. P. 42(a) with an action pending in this Court, Getty Images (US), Inc. v.

Bronstein et al., Case No. 1:19-cv-09804 (GBD) (the "Getty action").

                                             Preliminary Statement

                    Plaintiff Nitel, Inc. ("Nitel") claims in the bankruptcy court that Cerberus converted

its property – a security deposit Nitel purportedly gave to Rocket Fuel Inc., a predecessor of debtor

Sizmek DSP, Inc. ("Sizmek" or the "Debtor"), under a pre-bankruptcy sublease. Ex. 1 [Nitel

complaint], at ¶ 24. 1 The Debtor's estate has no interest in the outcome of this third-party dispute.

Indeed, the trustee in the Sizmek bankruptcy case is not a party to this adversary proceeding and

has made no claim to the disputed security deposit.

                    Nitel relies on conduct that allegedly occurred on March 25, 2019, prior to the

Sizmek bankruptcy. Ex. 1, at ¶ 12. Nitel also concedes that this dispute is not a "core" bankruptcy

proceeding. Ex. 1, at ¶ 5. Nor do Nitel's claims "arise under" the Bankruptcy Code ("Code")

because applicable state law governs, not the Code. 28 U.S.C. § 1334(b). Nitel's unrelated state

law claims arose outside the bankruptcy context, have nothing to do with the bankruptcy, and

should have been asserted in this Court where the Getty action – a dispute with "common

question[s] of law [and] fact," as provided in Fed R. Civ. P. 42(a) – is already pending.

                                  Relevant Statute and Standard of Review

                    Section 157(d) of the Judicial Code provides in relevant part: "The district court

may withdraw, in whole or in part, any case or proceeding referred under this section, on its own



1
    "Ex." refers to exhibits to the accompanying Declaration of Michael L. Cook dated July 12, 2021.


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motion or on timely motion of any party, for cause shown." 28 U.S. § 157(d) (emphasis added).

Known as permissive withdrawal, "cause" turns on the nature of the proceeding (i.e., suit) and

considerations of judicial economy. According to the Second Circuit, a "district court considering

whether to withdraw the reference should first evaluate whether the claim is core or non-core,

since it is upon this issue that questions of efficiency and uniformity will turn." In re Orion Pictures

Corp., 4 F.3d 1095, 1101 (2d Cir. 1993). "Thus once a district court makes the core/non-core

determination, it should weigh questions of efficient use of judicial resources, delay and costs to

the parties, uniformity of bankruptcy administration, the prevention of forum shopping, and other

related factors." Id. "Cause" may include the following: (1) whether the claim is core or non-

core; (2) whether the claim is legal or equitable; (3) whether judicial economy is best served; (4)

whether the ruling would prevent forum shopping; (5) whether the ruling would best promote

uniformity in the administration of the bankruptcy law; (6) whether withdrawal will foster

economical use of debtor's and creditor's resources; and (7) whether the parties are entitled to a

jury trial. In re Burger Boys, Inc., 94 F.3d 755, 762 (2d Cir. 1996); In re McCrory Co., 160 B.R.

502, 506 (S.D.N.Y. 1993); In re 131 Liquidating Corp., 222 B.R. 209, 211 (S.D.N.Y. 1998); see

also Baitinger Elec. Co., Inc. v. Daidone Elec. of N.Y., Inc. (In re Baitinger Elec. Co., Inc.), 94

B.R. 33, 34 (S.D.N.Y. 1988) (cause shown when uncertainty over bankruptcy court's authority to

conduct jury trial would have caused delay).

                                              Argument

                Ample cause warrants withdrawal of the reference from the bankruptcy court. First,

Nitel's claims are not core claims. Second, consolidating this proceeding with the Getty action

would conserve judicial resources. Third, Cerberus is entitled to a jury trial on any fact issues

relating to Nitel's conversion claim. Finally, Nitel's decision to initiate this proceeding in the




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bankruptcy court despite the Getty action's pendency in this Court suggests that Nitel is forum

shopping.

    A. Nitel's Claims Are Non-Core.

               Nitel has asserted two claims against Cerberus: conversion and unjust enrichment.

Ex. 1, at ¶¶ 18-29. Both of these state law claims are non-core. "[A] proceeding is . . . core . . . 'if

it invokes a substantive right provided by [the Bankruptcy Code] or if it is a proceeding that, by

nature, could arise only in the context of a bankruptcy case.'" In re McCrory Corp., 160 B.R. 502,

506 (S.D.N.Y. 1993) (quoting Silverman v. General Ry. Signal Co., 144 B.R. 244, 249 (Bankr.

S.D.N.Y. 1992) and Wood v. Wood, 825 F.2d 90, 97 (5th Cir. 1987)); accord Orion Pictures, 4

F.3d at 1102 (debtor's suit for breach of pre-bankruptcy contract held non-core); Mt. McKinley

Ins. Co. v. Corning, Inc., 399 F.3d 436, 448-50 (2d Cir. 2005) (insurer's suit against non-debtor

affiliates held non-core where debtor was not a party to suit, plaintiffs sought to adjust only rights

of non-debtors, and proceeds of any recovery would constitute only a small distribution to debtor's

creditors).

               Nitel claims that Cerberus converted its property, a security deposit Nitel gave to

Sizmek's predecessor under a pre-bankruptcy sublease (Ex. 1, at ¶¶ 10, 24), and seeks a recovery

for itself only (Ex. 1, at ¶ 29). The bankruptcy trustee in the Sizmek case is not a party to Nitel's

action and has made no claim to the security deposit. Dkt. No. 1014. Nitel's claims have nothing

to do with the Sizmek bankruptcy case or the Bankruptcy Code. Therefore, Nitel's claims are non-

core.

    B. Consolidating the Nitel Action with the Getty Action Pending in this Court Conserves
       Judicial Resources.

               The Getty action already pending in this Court has the same factual and legal issues

as Nitel's bankruptcy court action, as required by Fed. R. Civ. P. 42(a). See Ex. 3 [Getty



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complaint]. Cerberus Business Finance, LLC, one of the two defendants named in Nitel's

complaint, is a third-party defendant in the Getty action. Ex. 4 [Bronstein third-party complaint],

at 6 ¶ 3.

                 The salient facts in the Getty action are straightforward. Cerberus was a secured,

first-lien lender to Sizmek, the Debtor. Ex. 4, at 6 ¶ 3; Ex. 5 [Cerberus motion to dismiss], at 1.

Sizmek subleased commercial space to Getty Images (US), Inc. ("Getty") and received a security

deposit from Getty. Ex. 3, at ¶ 2; Ex. 5, at 1-2; Ex. 6 [Bronstein opposition], at 1-2. Sizmek's

Chief Financial Officer, Andrew Bronstein, apparently failed to maintain that security deposit in a

segregated account, in breach of Sizmek's obligation to Getty. See Ex. 3, at ¶ 3; Ex. 4, at 9 ¶ 12.

After Sizmek sought bankruptcy relief and failed to return Getty's security deposit, Getty sued two

of Sizmek's former officers, including Bronstein. Ex. 3.

                 Bronstein seeks to hold Cerberus, which was not a party to the sublease and which

plainly owed no duties on account of the sublease, liable for Sizmek's own failure to repay Getty's

security deposit.     Ex. 4, at 9-11.     At its core, Bronstein's common law contribution and

indemnification claims appear to be premised on the theory that if Cerberus had done his job for

him, he would not have commingled Getty's security deposit with other Sizmek funds. See Ex. 5,

at 1-2; Ex. 7 [Cerberus reply], at 5-6.

                 Sizmek's commingling of a third-party sublessee's security deposit is the

overarching issue in both the Getty and Nitel actions. Getty seeks to hold the Debtor's officers

liable; Bronstein seeks to hold Cerberus liable, as does Nitel in the instant bankruptcy court action.

                 The first court to address most of the issues raised by Nitel's complaint is this Court,

where Cerberus' motion to dismiss Bronstein's third-party complaint in the Getty action is sub

judice. See Exs. 5-7. Nitel only commenced its bankruptcy court suit on June 10, 2021. Ex. 1.




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Cerberus is filing an answer to Nitel's complaint in the bankruptcy court today, July 12, 2021. See

Ex. 2 [Cerberus answer]. It makes good sense to consolidate the Nitel and Getty actions in this

Court to avoid a duplication of effort and a waste of valuable judicial resources. Harlow v. Wells

Fargo & Co., 2021 WL 907107, at *5 (W.D. Va. Mar. 9, 2021) ("This mutually agreeable

consolidation, given the common issues of law and fact, is yet another reason that withdrawal of

the reference is prudent."); Big Rivers Elec. Corp. v. Green River Coal Co., 182 B.R. 751, 755

(W.D. Ky. 1995) (quoting In re Wedtech Corp., 81 B.R. 237, 239 (S.D.N.Y. 1987)) ("Where a

proceeding in bankruptcy involves common issues of law and fact with a case pending in district

court, 'the overlapping of facts, transactions, and issues in the two cases . . . is good cause for

withdrawal of the reference and consolidation with the district court proceeding.'").

    C. Cerberus Is Entitled to a Jury Trial on Any Fact Issues Relating to Nitel's Conversion
       Claim.

                "[T]he constitution prohibits bankruptcy courts from holding jury trials in non-core

matters. . . . [A] district court might find that the inability of the bankruptcy court to hold the trial

constitutes cause to withdraw the reference." Orion Pictures, 4 F.3d at 1101. Accord In re 131

Liquidating Corp., 222 B.R. at 211 ("If a case is non-core and a jury demand has been filed, the

district court may find that the inability of the bankruptcy court to hold the trial itself constitutes

cause to withdraw the reference."; reference withdrawn).

                Nitel, like Bronstein in this Court, asserts that Cerberus converted its property. Ex.

1, at ¶ 24; Ex. 6 [Bronstein opposition], at 7. As the New York Court of Appeals stressed, the tort

of "conversion takes place when someone, intentionally and without authority, assumes or

exercises control over personal property belonging to someone else. . . ." Colavito v. N.Y. Organ

Donor Network, Inc., 8 N.Y.3d 43, 49-50 (2006). To the extent fact issues exist on Nitel's claim,




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Cerberus is entitled to and has demanded a jury trial that is unavailable in the bankruptcy court.

See Ex. 2.

   D. Nitel Is Forum Shopping.

                 The Sizmek bankruptcy case has been pending for more than two years. Ex. 1, at

¶ 14. Nitel was a creditor and sublessee of the Debtor during this period and undoubtedly knew

of other similarly situated creditors like Getty. Getty, though, sued for the return of its security

deposit in this Court long before Nitel sued in the bankruptcy court, a matter of public record.

Nitel's failure to join in the Getty action suggests "forum shopping," a deliberate attempt to find

another forum. Because the Getty action is pending in the same district as the bankruptcy court,

Nitel cannot claim prejudice.

                                            Conclusion

                 For these reasons, the Court should withdraw Nitel's adversary proceeding from the

bankruptcy court under 28 U.S.C. § 157(d) and consolidate it with the Getty action under Fed. R.

Civ. P. 42(a).



DATED:       New York, New York                SCHULTE ROTH & ZABEL LLP
             July 12, 2021


                                               By: /s/ Michael L. Cook
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                                  CERTIFICATE OF SERVICE

                I hereby certify that on this 12th day of July, 2021, I caused the foregoing document

to be filed and served electronically using the Court’s CM/ECF system, which automatically sent

a notice of electronic filing to all counsel of record.


Dated: July 12, 2021                                       /s/ Michael L. Cook
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